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            EXHIBIT 6
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Attorneys for Defendant Apple Inc.

                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA


SOCIAL TECHNOLOGIES LLC,

                       Plaintiff,

       - against -                                       Civil Action No. 3:18-cv-05945-VC

APPLE INC.,

                       Defendant.


                APPLE INC.’S RESPONSES AND OBJECTIONS TO
        SOCIAL TECHNOLOGIES LLC’S FIRST SET OF INTERROGATORIES

       Pursuant to Rule 33, Defendant Apple Inc. (hereinafter, “Apple”) submits the following

responses and objections to Plaintiff Social Technologies LLC’s (hereinafter, “Social Tech”) First

Set of Interrogatories (hereinafter, the “First Interrogatories,” and each individual Interrogatory,

an “Interrogatory”).
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of Interrogatories as appropriate and/or to supplement, modify, or otherwise change or amend these

objections with any additional information that emerges through discovery or otherwise.

                           RESPONSES TO INTERROGATORIES

INTERROGATORY NO. 1:

       List with specificity all facts on which You intend to rely for Your counterclaim for

trademark infringement, including by identifying all persons with knowledge of such facts.

RESPONSES TO INTERROGATORY NO. 1:

       In addition to its general objections, Apple objects to this Interrogatory as overly broad,

unduly burdensome, and not proportional to the needs of the case, at least because it seeks “all

facts” on which Apple intends to rely for its counterclaim for trademark infringement and asks

Apple to identify “all persons” with knowledge of such facts. Apple objects to this Interrogatory

to the extent it seeks information not in Apple’s possession, custody, or control. Additionally,

Apple objects to this Interrogatory to the extent it seeks information protected from discovery by

the attorney-client privilege, the work-product immunity doctrine, or other applicable privilege.

Apple further objects to this Interrogatory to the extent it is premature. This case is in the early

phases of discovery and Apple’s investigation is not complete.             Apple responds to this

Interrogatory based on currently available information and reserves all rights to supplement,

amend, or modify this response. Apple further objects to this Interrogatory to the extent it calls

for legal conclusions and is compound.

       Subject to and without waiver of the foregoing objections, Apple responds as follows: In

2017, Apple debuted a novel emoji software feature called Animoji, which allows users to mirror

their facial expressions onto an array of animated characters (such as a unicorn, cat, alien, or dog)

and then send these characters via the Messages app in a digital sticker or as a video file with the

user’s own voice. The Animoji feature was well received, and Apple wanted to expand it to allow


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users to create characters that resemble themselves. Apple thus designed a new feature that allows

users to create personalized characters based on their selection of various customizable options,

such as face and hair, which users can then share. Effectively, the new feature allows users to

create emojis in their own likenesses and then send these self-emojis to one another. Because the

new feature was a natural evolution of the Animoji feature, and only accessible within the Animoji

feature, Apple wanted a name that was a natural evolution of “Animoji.” It came up with

“Memoji.”

        Before adopting the name Memoji, Apple conducted a clearance search. The search

revealed an app owned by Lucky Bunny LLC and Big 3 Ent LLC (“Lucky Bunny”), which was

active in the App Store (the “MEmoji App”1), and had been available to users since September 22,

2014. The MEmoji App allowed users to “TURN [THEMSELVES] INTO AN EMOJI” and then

text their “MEMOJI PHOTOS & VIDEOS TO [THEIR] FRIENDS.” The results of Apple’s

search indicated that, at the time of Apple’s search, Lucky Bunny had prior rights to the MEMOJI

mark for use in connection with a personalized emoji app to operate under the trademark MEMOJI.

        Lucky Bunny’s MEmoji App received 92,862 downloads from the App Store—16,548 in

2014; 11,850 in 2015; 59,720 in 2016; 4,366 in 2017; and 378 in 2018—and had 80,000 users.

Also consumers from every state downloaded Lucky Bunny’s MEmoji App in each year from

2014 through 2016, and consumers from at least 45 states downloaded it each year in 2017 and

2018. According to a publicly available article, just before Lucky Bunny’s MEmoji App launched,

the average app was downloaded only 40,000 times from Apple’s App Store and, outside the top

6% of apps, the median user base was only 27,500 users.



1
    Apple uses “the MEmoji App” synonymously with the “Lucky Bunny App” as that term is defined in Social
    Tech’s First Set of Interrogatories.



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       The MEmoji app received national media attention, including from The Ellen Degeneres

Show, The Howard Stern Show, USA Today, AdWeek, and The Huffington Post. It was promoted

by comedian and actor Howie Mandel and received significant attention on social media. Lucky

Bunny also promoted the app nationwide on Twitter via a dedicated account and on its website,

thememojiapp.com. Lucky Bunny used the MEMOJI mark continuously in connection with its

app from launch until late July 2018.

       On May 31, 2018, Lucky Bunny transferred “all right, title and interest in” the MEMOJI

mark and Lucky Bunny’s pending trademark application “together with the goodwill connected

with the use of and symbolized by” the MEMOJI mark to an Apple-owned entity called MemoFun

Apps LLC (“MemoFun”). Apple then recorded at the U.S. Patent & Trademark Office (“PTO”)

the assignment of the Prior Owners’ rights in the MEMOJI mark to MemoFun, and the assignment

of those rights from MemoFun to Apple. Apple also allowed Lucky Bunny to continue offering

the MEmoji App until July 30, 2018.

       On June 4, 2018, after acquiring Lucky Bunny’s rights to the MEMOJI mark, Apple

announced its Memoji software feature as part of its iOS 12 operating system at its high-profile

Worldwide Developers Conference (“WWDC”) keynote event. It also released a beta version of

its iOS 12 software, including the Memoji software feature, to developers and managed seed

audiences that same day. Immediately after, the Memoji software feature received substantial

press coverage in numerous general interest publications such as The Wall Street Journal, New

York Magazine, Salon, Slate, and CNBC.com, and in tech publications such as Gizmodo,

TechCrunch, and CNET.        Apple also began featuring the MEMOJI mark on its website

immediately following the keynote and promoted the Memoji software feature in its press release

regarding the WWDC event.




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       Nine days after Apple announced its Memoji software feature, Social Tech contacted

Apple, citing the WWDC event and demanding that Apple immediately cease its use of the

MEMOJI mark in light of Social Tech’s intent-to-use application. Apple responded on June 14,

2018, explaining that Apple had prior rights, as Apple had acquired rights to the MEMOJI mark

that predated Social Tech’s intent-to-use application. Apple further notified Social Tech that it

would cancel any trademark registration Social Tech obtained. On June 22, 2018, Social Tech

responded and reaffirmed its position. Social Tech did not contact Apple again before filing suit.

       On June 25, 2018, before Social Tech launched its app, Apple released the public beta

version of iOS 12 through its Beta Software Program, which has millions of members and is open

to all iPhone X users. On September 17, 2018, Apple made iOS 12 available for public download.

All existing iPhone X users could download iOS 12 and use the Memoji software feature. As of

October 2018, iOS 12 was installed on roughly 53% of active devices introduced in the past four

years. iOS 12 is also pre-loaded on the iPhone XS, iPhone XS Max, and iPhone XR mobile devices

that were released in September and October of 2018.

       On June 28, 2018, following Apple’s announcement and beta release of its Memoji

software feature, Social Tech hurriedly launched its free app on Google Play. Its apparent purpose

in doing so was to engage—for the first time—in “use” of the MEMOJI Design Mark in commerce

to perfect its dormant intent-to-use application for a specific design mark incorporating the word

“Memoji” (the “MEMOJI Design Mark”). Social Tech had filed its intent-to-use application on

April 1, 2016. According to Social Tech’s application, “[t]he mark consists of white reflective

letters spelling ‘MeMOJI’ on a black background, with a female face inside the ‘o’.” Social Tech

has admitted that, when it filed its intent-to-use application, it knew of Lucky Bunny’s MEmoji

App but but claims it ignored Lucky Bunny’s rights because it believed Lucky Bunny had ceased




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using the mark (even though a search would have shown that Lucky Bunny’s MEmoji App was

still available on the App Store).2 Two days later, Social Tech filed a statement of use with the

PTO. On September 18, 2018, Social Tech obtained its registration. Eight days later, Apple

petitioned to cancel Social Tech’s registration based on Apple’s prior rights. On September 27,

2018, four months after Apple’s announcement and launch of the Memoji software feature, Social

Tech filed this suit.

        The persons who have knowledge of some or all of this information include: Kurt Knight,

Michael Jaynes, and Thomas R. La Perle. Messrs. Knight, Jaynes, and La Perle can each be

contacted care of Kirkland & Ellis, LLP, whose contact information appears on the caption page

of these responses. Apple further believes that Samuel Bonet has knowledge of this information.

INTERROGATORY NO. 2:

        List with specificity all facts on which You intend to rely for Your affirmative defenses,

including by identifying all persons with knowledge of such facts.

RESPONSES TO INTERROGATORY NO. 2:

        In addition to its general objections, Apple objects to this Interrogatory as overly broad,

unduly burdensome, and not proportional to the needs of the case, at least because it seeks “all

facts” on which Apple intends to rely for its counterclaim for trademark infringement and asks

Apple to identify “all persons” with knowledge of such facts. Apple objects to this Interrogatory

to the extent it seeks information not in Apple’s possession, custody, or control. Additionally,

Apple objects to this Interrogatory to the extent it seeks information protected from discovery by

the attorney-client privilege, the work-product immunity doctrine, or other applicable privilege.



2
    Apple also notes that although Social Tech’s LinkedIn page stated that it expected to launch its app in “the latter
    part of 2017,” Social Tech did not launch an app using the MEMOJI Design Mark until June 28, 2018.



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Apple further objects to this Interrogatory to the extent it is premature. This case is in the early

phases of discovery and Apple’s investigation is not complete.            Apple responds to this

Interrogatory based on currently available information and reserves all rights to supplement,

amend, or modify this response. Apple further objects to this Interrogatory to the extent it calls

for legal conclusions and is compound.

       Subject to and without waiver of the foregoing objections, Apple responds as follows:

Apple incorporates by reference its response to Interrogatory No. 1. Apple further states that after

Social Tech’s June 22, 2018 letter to Apple, Social Tech did not contact Apple any further for over

three months. Apple next heard from Social Tech on September 28, 2018, when Social Tech

informed Apple that it had filed this lawsuit. Apple reasonably relied on Social Tech’s inaction to

alter its position and release iOS 12 using Memoji as the name of the software feature.

       The persons who have knowledge of some or all of this information include: Kurt Knight,

Michael Jaynes, and Thomas R. La Perle. Messrs. Knight, Jaynes, and La Perle can each be

contacted care of Kirkland & Ellis, LLP, whose contact information appears on the caption page

of these responses. Apple further believes that Samuel Bonet has knowledge of this information.

INTERROGATORY NO. 3:

       Describe in detail all of Your communications with Lucky Bunny, MemoFun, and Robert

Jackson and Associates regarding the MEMOJI trademark and the Lucky Bunny Trademark.

RESPONSES TO INTERROGATORY NO. 3:

       In addition to its general objections, Apple objects to this Interrogatory as overly broad,

unduly burdensome, and not proportional to the needs of the case, at least because it seeks “all of

[Apple’s] communications.” Additionally, Apple objects to this Interrogatory to the extent it seeks

information protected from discovery by the attorney-client privilege, the work-product immunity

doctrine, or other applicable privilege. Apple further objects to this Interrogatory as compound.


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Apple also objects to this Interrogatory to the extent it is not reasonably limited as to time or scope.

Apple therefore responds to this Interrogatory only insofar as it seeks communications that

occurred in connection with MemoFun’s acquisition of Lucky Bunny’s rights to the MEMOJI

mark up to and including the date on which that acquisition was complete.

       Subject to and without waiver of the foregoing objections, Apple responds as follows:

***CONFIDENTIAL***

       Apple did not have any direct communications with Lucky Bunny in connection with

MemoFun’s acquisition of Lucky Bunny’s rights to the MEMOJI mark (and associated goodwill).

Instead, Apple’s agent contacted Lucky Bunny about acquiring its rights and communicated with

Lucky Bunny to facilitate that acquisition. Apple’s agent first contacted Lucky Bunny on or about

May 19, 2018. Apple’s agent thereafter had various email and telephonic communications with

Lucky Bunny about the terms of the acquisition agreement. On May 31, 2018, Lucky Bunny sent

to Apple’s agent the signed acquisition agreement. Thereafter, on June 4, 2018, MemoFun

assigned the rights and goodwill to the MEMOJI mark to Apple.

***END CONFIDENTIAL DESIGNATION***

INTERROGATORY NO. 4:

       Describe in detail all of Your communications, including communications by any person

on Your behalf, with Alphabet Inc., including any Google employee in the Google Play or

Google Play Developer divisions, regarding Social Tech’s MEMOJI app.

RESPONSES TO INTERROGATORY NO. 4:

       In addition to its general objections, Apple objects to this Interrogatory as overly broad,

unduly burdensome, and not proportional to the needs of the case, at least because it seeks “all of

[Apple’s] communications.”




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        Subject to and without waiver of the foregoing objections, Apple responds as follows:

None.

INTERROGATORY NO. 5:

        Describe in detail Your decision to use the word memoji in connection with the Apple

Memoji software, and all reasons therefor.

RESPONSES TO INTERROGATORY NO. 5:

        In addition to its general objections, Apple objects to this Interrogatory as overly broad,

unduly burdensome, and not proportional to the needs of the case, at least because it seeks

information about “all reasons” why Apple used the word memoji in connection with the Apple

Memoji software feature. Additionally, Apple objects to this Interrogatory to the extent it seeks

information protected from discovery by the attorney-client privilege, the work-product immunity

doctrine, or other applicable privilege.

        Subject to and without waiver of the foregoing objections, Apple responds as follows: In

2017, Apple debuted the Animoji feature in iPhone X mobile devices. The Animoji feature,

available within the Messages app on the iPhone X mobile device, maps a user’s facial expressions

and allows the user to mirror the user’s facial expressions onto an array of animated characters

(such as a unicorn, chicken, robot, cat, alien or dog). It creates animated characters mimicking the

user’s facial expressions. The user can save and send these animated characters in a digital sticker

or as a video file with the user’s own voice, thus enabling the user to send a talking animated emoji

as a video message. The Animoji feature was well-liked among users, as was reported by

numerous news sources, including The Washington Post, Chicago Daily Herald, Cnet.com,

Wired.com, LA Times, Forbes, Time, PC Mag, and Mashable.com.

        Following on the heels of Animoji’s popularity amongst consumers, Apple wanted to

expand the Animoji feature even further to provide users the ability to create customizable


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personalized characters that resemble the individual. With the new personalization feature, users

would be able to create a personalized character based on the user’s selection of face, hair, and

other customizable features. The user can access this feature through the Messages app by clicking

on the “New Memoji” button within the Animoji feature on devices with Apple’s TrueDepth

camera (released as part of the iPhone X mobile device). Once the user creates his or her

personalized character, the user can then create and save an animated video message or a digital

sticker and share it with others through the Messages app of the user’s iPhone mobile device.

Effectively, the app allows users to turn themselves into animated emojis by selecting character

features to design an alter ego that matches their personality and mood.

       Since this new feature would reside within the Animoji feature (i.e., the user would have

access to the new feature only as a feature within the Animoji feature), and since the new feature

was a natural evolution of the Animoji feature, Apple wanted to pick a name that would also be a

natural evolution of the Animoji name. In addition, by the time Apple started the naming process

for this new feature, the Animoji feature had already been in use by Apple for several months, and

was already widely popular with a tremendous amount of goodwill attached to it. Apple therefore

wanted to find a name that would be connected with the Animoji feature’s popularity. Finally,

Apple needed a name with the functional advantage of being short enough to fit in a phone display.

After conducting brainstorming sessions, Apple decided that the name “Memoji” met these

criteria. The Legal Department completed the clearance prior to Apple’s adoption of the Memoji

name. Also, as discussed in response to Interrogatory No. 1, Apple acquired prior rights from

Lucky Bunny before adopting the Memoji name for Apple’s Memoji software feature.




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INTERROGATORY NO. 6:

       Describe in detail all efforts You made to acquire the rights to the MEMOJI trademark,

including but not limited to the contact made with Social Tech on or around May 21, 2018,

regarding Social Tech’s interest in selling its MEMOJI trademark rights.

RESPONSES TO INTERROGATORY NO. 6:

       In addition to its general objections, Apple objects to this Interrogatory as overly broad,

unduly burdensome, and not proportional to the needs of the case, at least because it seeks

information about “all efforts” Apple made to acquire rights to the MEMOJI trademark.

Additionally, Apple objects to this Interrogatory to the extent it seeks information protected from

discovery by the attorney-client privilege, the work-product immunity doctrine, or other applicable

privilege.

       Subject to and without waiver of the foregoing objections, Apple responds as follows:

***CONFIDENTIAL***

       As a result of its clearance search, Apple identified Lucky Bunny’s prior rights to the

MEMOJI Mark. Apple also learned of Social Tech’s pending but dormant intent-to-use trademark

application. Based on the information available to it (including that Social Tech had never used

its purported Memoji Design Mark in commerce and missed its self-stated deadline to launch its

app), Apple concluded that Lucky Bunny was the prior user of the MEMOJI Mark and that Social

Tech had no rights to the MEMOJI Mark.

       Apple’s agent contacted Lucky Bunny on or about May 19, 2018 to ask if it would sell the

MEMOJI mark. On May 31, 2018, Lucky Bunny transferred “all right, title and interest in” the

MEMOJI mark and Lucky Bunny’s pending trademark application “together with the goodwill

connected with the use of and symbolized by” the MEMOJI mark to an Apple-owned entity called




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MemoFun. Apple then recorded at the PTO the assignment of Lucky Bunny’s rights in the

MEMOJI mark to MemoFun, and the assignment of those rights from MemoFun to Apple.

       Despite the fact that Social Tech had no rights in the MEMOJI Mark, Apple recognized

that acquiring Social Tech’s application would help simplify the path for Apple to register the

MEMOJI mark. Apple’s agent thus contacted Social Tech on or about May 21, 2018 to inquire

whether Social Tech was interested in selling whatever rights it might have in the MEMOJI mark

(including its intent-to-use application). Social Tech responded that it was not interested. The

agent did not make any further attempts to contact Social Tech, whose rights in the MEMOJI mark

(if any) were junior to those that Apple acquired from Lucky Bunny.

***END CONFIDENTIAL DESIGNATION***

INTERROGATORY NO. 7:

       Identify each unique download of the Lucky Bunny App from the date of its release to

the present, including the location of each download, the date of each download, and the

identification of multiple downloads of the Lucky Bunny App by the same user.

RESPONSES TO INTERROGATORY NO. 7:

       In addition to its general objections, Apple objects to this Interrogatory as overly broad,

unduly burdensome, and not proportional to the needs of the case, at least because it seeks

information about “each” unique download of Lucky Bunny’s app.                Apple objects to this

Interrogatory to the extent it seeks information not in Apple’s possession, custody, or control.

Apple further objects to this Interrogatory as vague and ambiguous insofar as it uses the terms

“unique download.” Apple interprets “unique download” to refer to each instance in which an

individual downloaded the Lucky Bunny App for the first time (as opposed to re-downloads).

Apple further objects to this Interrogatory to the extent it seeks private information about third

parties to this case. The identities of Lucky Bunny’s users are not relevant to any issue in this case


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in part due to the fact that Lucky Bunny’s app ceased to be offered for download after July 30,

2018.

***END CONFIDENTIAL DESIGNATION***

INTERROGATORY NO. 9:

        Describe in detail any and all marketing efforts of the Lucky Bunny App.

RESPONSES TO INTERROGATORY NO. 9:

        In addition to its general objections, Apple objects to this Interrogatory as overly broad,

unduly burdensome, and not proportional to the needs of the case, at least because it seeks

information about “any and all” marketing efforts of the Lucky Bunny App. Apple objects to this

Interrogatory to the extent it seeks information not in Apple’s possession, custody, or control.

        Subject to and without waiver of the foregoing objections, Apple responds as follows:

From 2014 through the 2018 acquisition, Lucky Bunny promoted its MEmoji App on its website

and via a dedicated Twitter account. The MEmoji App received national public attention in the

media, including from The Ellen Degeneres Show, The Howard Stern Show, USA Today, AdWeek,

and The Huffington Post. The app was promoted by the comedian and actor Howie Mandel, and

received significant attention on social media.

INTERROGATORY NO. 10:

        Describe in detail each search conducted on the availability for the use of the MEMOJI

trademark.

RESPONSES TO INTERROGATORY NO. 10:

        In addition to its general objections, Apple objects to this Interrogatory as overly broad,

unduly burdensome, and not proportional to the needs of the case, at least because it seeks

information about “each” search conducted on the availability for the use of the MEMOJI

trademark. Apple objects to this Interrogatory as vague and ambiguous insofar as it uses the term


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“availability for the use of the MEMOJI trademark.” Apple objects to this Interrogatory to the

extent it seeks information not in Apple’s possession, custody, or control. Additionally, Apple

objects to this Interrogatory to the extent it seeks information protected from discovery by the

attorney-client privilege, the work-product immunity doctrine, or other applicable privilege.

       Subject to and without waiver of the foregoing objections, Apple responds as follows:

***CONFIDENTIAL***

       In April of 2018, Apple’s outside counsel conducted a full, multinational trademark search

on the mark MEMOJI for selfie emoji applications and conducted follow-up investigations based

on the results of that search as part of Apple’s clearance process. Apple’s search revealed Lucky

Bunny’s active app in the App Store (the MEmoji App), which had been available to users since

September 22, 2014.       As described above, the MEmoji App allowed users to “TURN

[THEMSELVES] INTO AN EMOJI” and then text their “MEMOJI PHOTOS & VIDEOS TO

[THEIR] FRIENDS.” To the best of Apple’s knowledge, at the time of Apple’s search, Lucky

Bunny had prior rights to the MEMOJI mark for use in connection with a personalized emoji app

to operate under the trademark MEMOJI.

       Apple’s search also revealed Social Tech’s intent-to-use application for the MEMOJI

Design Mark, which Social Tech filed on April 1, 2016. Apple’s investigation showed, however,

that Social Tech was not using the MEMOJI Design Mark. It had no “Memoji” app on the App

Store or Google Play, even though two years had passed since it filed its intent-to-use trademark

application. In fact, although Social Tech claimed on LinkedIn that its product was expected to

launch in “the latter part of 2017,” that time had passed without Social Tech launching a product

with the name “Memoji.” Social Tech also had not submitted a specimen of use to the PTO

showing use.




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Dated: March 18, 2019
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